Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 1 of 28 Page ID #:196
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 2 of 28 Page ID #:197
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 3 of 28 Page ID #:198
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 4 of 28 Page ID #:199
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 5 of 28 Page ID #:200
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 6 of 28 Page ID #:201
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 7 of 28 Page ID #:202
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 8 of 28 Page ID #:203
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 9 of 28 Page ID #:204
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 10 of 28 Page ID #:205
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 11 of 28 Page ID #:206
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 12 of 28 Page ID #:207
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 13 of 28 Page ID #:208
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 14 of 28 Page ID #:209
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 15 of 28 Page ID #:210
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 16 of 28 Page ID #:211
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 17 of 28 Page ID #:212
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 18 of 28 Page ID #:213
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 19 of 28 Page ID #:214
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 20 of 28 Page ID #:215
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 21 of 28 Page ID #:216
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 22 of 28 Page ID #:217
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 23 of 28 Page ID #:218
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 24 of 28 Page ID #:219
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 25 of 28 Page ID #:220
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 26 of 28 Page ID #:221
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 27 of 28 Page ID #:222
Case 2:16-cr-00499-GW Document 34 Filed 04/26/17 Page 28 of 28 Page ID #:223
